                            Case 2:21-cv-00544-KSH-CLW Document 1-1 Filed 01/11/21 Page 1 of 4 PageID: 13
                                                          Exhibit A to the Complaint
Location: Demarest, NJ                                                                               IP Address: 108.35.31.207
Total Works Infringed: 29                                                                            ISP: Verizon Fios
 Work     Hashes                                                                 UTC          Site          Published     Registered   Registration
 1        Info Hash:                                                             12/21/2020   Blacked       08/25/2018    10/16/2018   PA0002127783
          43B885FA65E8B985E304AA540290A5589F7071D3                               06:17:14     Raw
          File Hash:
          C134B879B3CD3FF585F69D3A3435E94FC9C6605E9EF46B33FD44C7EB2FC3D708
 2        Info Hash:                                                             12/16/2020   Blacked       05/12/2018    05/24/2018   PA0002101380
          F096E038B40D9A278744F70E8F7C332EC991A07C                               06:34:45     Raw
          File Hash:
          6E55A7AF4CD1A273E8649EDF982DC65C0F5950AA9C00F6D2D04EAF9325AA212B
 3        Info Hash:                                                             12/16/2020   Blacked       07/04/2018    08/07/2018   PA0002131913
          6F7F2747E89912D8C18566274565E417A1960FB7                               05:34:27
          File Hash:
          8F662F522286F69180CA29ED3D754BE73FAFEA750278BB9102C120C6FAFC2A48
 4        Info Hash:                                                             12/16/2020   Blacked       10/14/2019    11/05/2019   PA0002210289
          DFA0AF19065D6F02AE53DDE461AB054C52749DB9                               04:55:06     Raw
          File Hash:
          703FD77F348AD392267F1D6452CBA9BBEBEC335C0DA6636F12F6F5A7B1EC39A4
 5        Info Hash:                                                             12/16/2020   Blacked       02/13/2020    03/18/2020   PA0002241447
          51185C8E96E19B9F1E7F47647B98DF3434B759E7                               04:34:26     Raw
          File Hash:
          6B098BF2E80EEDDB400147CC15800C70F6D28144076E1A4FA10FB91BEB977CCE
 6        Info Hash:                                                             12/15/2020   Blacked       10/05/2020    10/22/2020   PA0002261806
          7C05970693631664015FA0BA24831A5B6B9EC79F                               03:29:21     Raw
          File Hash:
          9B25E11D198FB0C68CFFE7B3DB693C4E549E9F06233EE1E20DBFE7FDBA3C7EEC
 7        Info Hash:                                                             12/09/2020   Blacked       04/05/2019    04/29/2019   PA0002169966
          FE1338CBCA830E3405AB4200C9EBC6C5093DFBB1                               05:55:21
          File Hash:
          7971AB0F46A661F7B4E85333BD8D68AEF8266A8BDE7C4D19BE8BEA6A7A5C7E7F
 8        Info Hash:                                                             12/09/2020   Blacked       08/15/2020    09/05/2020   PA0002255476
          D6E0A40D7E916C17226EFE6BB7290F89845DA1AD                               05:23:22
          File Hash:
          2D65FAB3ECF540837E4442CCF67DBD19262CBC25898523B6ABC46F2B681AA87F
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Work   Hashes                                                             UTC          Site      Published    Registered   Registration
9      Info Hash:                                                         12/05/2020   Blacked   04/15/2018   05/23/2018   PA0002101306
       66292F7187B4222B2E541ECA50891A76BD94C834                           06:26:42
       File Hash:
       C361B6F1A9F0BD3A7361BF439AF343B242874033C1030F5CB1DE9FA538656CF8
10     Info Hash:                                                         11/15/2020   Blacked   06/01/2020   06/25/2020   PA0002255508
       2B524B6F6E4161A83F548199A67119ECC8EFCF67                           05:09:04     Raw
       File Hash:
       97EB70F552093092567A108F4051DEAC4E1695D5755720EC521496BD086F3205
11     Info Hash:                                                         11/08/2020   Blacked   03/28/2020   04/15/2020   PA0002246108
       4D681AA2C0E7C46C0814F3BBA7DF71007C31C7E8                           05:21:47
       File Hash:
       0408F6FA4B819558C266E53122B05254F0924FB41DBB21F395B269437C030F3F
12     Info Hash:                                                         11/04/2020   Blacked   02/26/2019   03/31/2019   PA0002163980
       C6D3B3923ED70065CC4BC6D4C02F7E0D3CC6749C                           05:16:13     Raw
       File Hash:
       7E169E13025CD4627A76E2653D18E5ADD627827BAA51AB290538D0576885D60E
13     Info Hash:                                                         11/04/2020   Blacked   07/01/2018   07/26/2018   PA0002112161
       4939DDA25AC94EF2490052A79D7CF72324523D6F                           05:13:45     Raw
       File Hash:
       174E86F5B9E18C5BAD79375E2075492632A0FB1B3B4F07F2AD0912F0A86344F8
14     Info Hash:                                                         11/04/2020   Blacked   04/06/2020   04/17/2020   PA0002237306
       EE33CA60AB1858DC8FEF12E32CCDDACAF1DA6869                           05:11:30     Raw
       File Hash:
       62A82AB39773381B26F80F1BD32CF3446A7C635D39B850DC1A65673DE5D2E09C
15     Info Hash:                                                         11/03/2020   Blacked   02/14/2020   03/18/2020   PA0002241448
       8FFA898B2223F0A11776B90689F0C8CE0ABF0DAB                           05:47:36
       File Hash:
       1C9DC840D9E042EFF6A3BEDAC8D901D63DF6BDCCA4A91E0D5C7CF2280CA0D3BB
16     Info Hash:                                                         11/03/2020   Blacked   02/24/2020   03/18/2020   PA0002241627
       A799878765832A277C65FB1F9AD5AE8D594F1ED4                           05:46:29
       File Hash:
       644AB34A0CDB356C03C6891C409E39387C6798A62E8CC2B4F90837CCD272F86B
17     Info Hash:                                                         11/03/2020   Blacked   09/07/2020   09/29/2020   PA0002258685
       5C8BA544306FFC42074EF43606352DA8A8E24B1C                           05:22:32     Raw
       File Hash:
       947B78D6EBCC7259ECAF02F029868B747BF48DF18C830C9D165238B848EA835B
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Work   Hashes                                                             UTC          Site      Published    Registered   Registration
18     Info Hash:                                                         11/03/2020   Blacked   09/21/2020   09/29/2020   PA0002258687
       D038231EA01AF439C3664135051CDD33B5CB1032                           05:22:17     Raw
       File Hash:
       6FB0C33131D8E77CFBD1AFACE91E1FB736ADD1C537C1AE7B7397A10536993050
19     Info Hash:                                                         11/02/2020   Blacked   07/25/2020   08/11/2020   PA0002252256
       1902DE7B974CAE62FB7A5DE639C19031FC126C4B                           05:55:42
       File Hash:
       781B373FEF7FD1DB9FFCC80BE5795BB9A4321D3C081FC38E6B983D49B1551E4A
20     Info Hash:                                                         11/02/2020   Blacked   09/05/2020   09/29/2020   PA0002258686
       CF68460DE9D9906097987EC8282AFEB65C3285B7                           05:05:58
       File Hash:
       89D2A8B1E0C33574D55170A12C1AC1BEAAA8DAD27057E862E44E6FD7099822CB
21     Info Hash:                                                         11/02/2020   Blacked   09/19/2020   09/29/2020   PA0002258681
       EA0933C026CAC051707CDA6CAAAB5FA9F7E359A0                           03:34:04
       File Hash:
       289F90643B74406805984899428626966679EC0E9FE7FCDA6FE8EA60096F41A9
22     Info Hash:                                                         10/31/2020   Vixen     09/16/2019   10/01/2019   PA0002217346
       4377D001F4E80BB56FC09EEC160D3E44683A7EAF                           03:41:26
       File Hash:
       DD98AF23D306256E0C8E4D4925F2A17C4E0FCBC11B5EAD6F2D4F1EC3754EE213
23     Info Hash:                                                         10/23/2020   Blacked   12/18/2019   02/03/2020   PA0002225563
       26055D2C7FE57CD5794576974A7390178C3BBACB                           05:11:06     Raw
       File Hash:
       692A615A2C0873D0F1704ABD4BC2996D60ADB2BED61000367BEBABE573578FBC
24     Info Hash:                                                         10/23/2020   Blacked   06/27/2020   07/17/2020   PA0002248593
       976FE70AE578B0BDC28B8EAD4103DA207FFB88A6                           05:10:00
       File Hash:
       856AE991E1CDDB76C5C13ED1235C48A1FCE1C3C2F72D5F31C0C69DB855E64654
25     Info Hash:                                                         09/13/2020   Blacked   12/26/2019   01/27/2020   PA0002223955
       263D11C79580408D4B52ED5DE10FFFFD8DEFCB71                           05:08:07
       File Hash:
       79B4AAAC410E5E0EC7DC7E0A29DD342F0444CD533F82C9970302631932F19AC0
26     Info Hash:                                                         08/11/2020   Blacked   02/13/2019   03/11/2019   PA0002158597
       AF903E7F565249D48160FF028A27C732D3441983                           05:54:40
       File Hash:
       24249F5547FD28DABDBC11B884B8DD8B3BF26E6C68A65AD35028D3F9F93272BC
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Work   Hashes                                                             UTC          Site      Published    Registered   Registration
27     Info Hash:                                                         08/11/2020   Blacked   07/11/2018   08/07/2018   PA0002131894
       8A9AB1F64463E581A779AAE573B6ACC9EF49BBD6                           05:37:01     Raw
       File Hash:
       F264D22475CAEB917C41AEAE49A25FF4DEF43A0EA5457CD6430336DC8A40DD78
28     Info Hash:                                                         08/11/2020   Blacked   10/12/2018   10/28/2018   PA0002130455
       8A8DF88281CE0785D71C06AF8B975C595E038709                           05:36:56
       File Hash:
       D246E6DD3ABCF2D52C2E160F65516F3FB80AE11AC81108ADAD143B6AD467F1FB
29     Info Hash:                                                         08/09/2020   Blacked   10/07/2017   10/19/2017   PA0002058300
       EF485D5F3AE56A95C100904DCBEFECAB1CAB8D8B                           06:40:01
       File Hash:
       2A9F80F40A49A8AE77B98E230F8658418AF67EC7D51E2C5F13737FD5F8F7A2AC
